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1
                              UNITED STATES DISTRICT COURT
2
                          EASTERN DISTRICT OF WASHINGTON
3
4    UNITED STATES OF AMERICA,                 )
                                               )    NO.      MJ-09-4010-JPH
5                                              )             MJ-09-4011-JPH
                       Plaintiff,              )
6                                              )    ORDER ON PROBABLE CAUSE AND
           v.                                  )    ORDER OF DETENTION
7                                              )
     MANUEL MORFIN-MORENO,                     )
8    RAFAEL IBANEZ-NARANJO,                    )
                                               )
9                      Defendant.              )

10        Probable cause and detention hearings were held on February

11   2, 2009.    Jane Kirk appeared for the government and defendants

12   were each present with counsel Alex Hernandez and William Schuler.

13   The defendants agreed to their hearings being held simultaneously.

14        Drug Enforcement Special Agent Clayton Haines, testified and

15   was cross examined.

16        Counsel for Defendant Morfin-Moreno orally moved to dismiss.

17   The Court denied defendant’s motion (Ct. Rec. 13).

18        Counsel for Defendant Morfin-Moreno orally made a motion for

19   production of witness reports.          The Court denied defendant’s

20   motion (Ct. Rec. 14).

21        Counsel for both defendants orally moved to strike the

22   testimony of the witness pursuant to Rule 26.2.                The Court denied

23   the joint motion to strike testimony (Ct. Rec. 12, 15).

24        Based on the evidence and testimony presented, the Court

25   finds there is sufficient evidence to establish probable cause to

26   bind both defendants for further proceedings.

27        Detention hearings had been requested by both of the

28   defendants.

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1         The government proffered the pretrial services bail reports
2    and concurs with the recommendation for continued detention of
3    each defendant.
4         Argument from counsel was heard.
5         This court has taken into account the information in the
6    pretrial services reports, the evidence presented, testimony of
7    the witness and the ICE detainers that have been lodged against
8    the defendants.
9         The Court finds there are no conditions or combination of
10   conditions other than detention that will reasonably assure the
11   appearance of the defendants as required.
12        IT IS ORDERED:
13        1.   That the government’s motions for detention (Ct Rec. 5,2)
14   are granted. The defendants shall continue to be held in detention
15   pending disposition of this case or until further order of the
16   court.
17        2.   The defendants are committed to the custody of the United
18   States Marshal for confinement separate, to the extent
19   practicable, from persons awaiting or serving sentences or being
20   held in custody pending appeal.
21        3.   The defendants shall be afforded reasonable opportunity
22   for private consultation with their counsel.
23        DATED this 2nd day of February, 2009.
24                                              s/James P. Hutton
                                                  JAMES P. HUTTON
25                                          UNITED STATES MAGISTRATE JUDGE

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     ORDER ON PROBABLE CAUSE
     AND ORDER OF DETENTION - 2
